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                                                                               Exhibit 11
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QUESTIONS                                       OFFICE OF THE COUNTY ASSESSOR          OFFICE OF THE COUNTY ASSESSOR

For additional information regarding property   Adams County         (720) 523-6038    Kit Carson County     (719) 346-8946
                                                                                                                                CLASSIFICATION
taxation procedures in Colorado, contact tfie
Colorado Division of Property Taxation at       Alamosa County       (719) 589-6365    Lake County           (719) 486-4110     AND VALUATION
(303) 864-7777 or contact your county
assessor.
                                                Arapahoe County
                                                Archuleta County
                                                                     (303) 795-4600
                                                                     (970) 264-8310
                                                                                       La Plata County
                                                                                       Larimer County
                                                                                                             (970) 382-6221
                                                                                                             (970) 498-7050
                                                                                                                                      OF
                                                Baca County          (719) 523-4332    Las Animas County     (719) 846-2295      AGRICULTURAL
                                                                                                                                   PROPERTY
                                                Bent County          (719) 456-2010    Lincoln County        (719) 743-2358
                                                Boulder County       (303) 441-3530    Logan County          (970) 522-2797
                                                Broomfield County    (303) 464-5819    Mesa County           (970) 244-1610            IN
                                                                                                                                  COLORADO
                                                Chaffee County       (719) 539-4016    Mineral County        (719) 658-2669
                                                Cheyenne County      (719) 767-5664    Moffat County         (970) 824-9102

                                                Clear Creek County   (303) 679-2322    Montezuma County      (970) 565-3428
                                                 Conejos County      (719) 376-5585    Montrose County       (970) 249-3753
                                                 Costilla County     (719) 937-7670    Morgan County         (970) 542-3512
                                                 Crowley County      (719) 267-5229    Otero County          (719) 383-3010
                                                 Custer County        (719) 783-2218   Ouray County          (970) 325-4371
                                                 Delta County         (970) 874-2120   Park County           (719) 836-4331
                                                 Denver County        (720) 913-4162   Phillips County       (970) 854-3151
                                                 Dolores County       (970) 677-2385   Pitkin County         (970) 920-5160
                                                 Douglas County       (303) 660-7450   Prowers County        (719) 336-8000
                                                 Eagle County         (970) 328-8640   Pueblo County         (719) 583-6597

                                                 Elbert County        (303) 621-3101   Rio Blanco County     (970) 878-9410
                                                 El Paso County       (719) 520-6600   Rio Grande County     (719) 657-3326
                                                 Fremont County       (719) 276-7310   Routt County          (970) 870-5544
                                                 Garfield County      (970) 945-9134   Saguache County       (719) 655-2521
                                                 Gilpin County        (303) 582-5451   San Juan County       (970) 387-5632
                                                 Grand County         (970) 725-3060   S a n Miguel County   (970) 728-3174
                                                 Gunnison County      (970) 641-1085   Sedgwick County       (970) 474-2531
Prepared by:
Colorado Division of Property Taxation           Hinsdale County      (970) 944-2225   Summit County         (970) 453-3480
Department of Local Affairs                                                                                                   This brochure was created tc provide        general
                                                 Huerfano County      (719) 738-3000   Teller County         (719) 689-2941   information on the classification and valuation
Reorder: m7 business solutions
                                                                                       Washington County     (970) 345-6662   of agricultural    property   in Colorado.     For
         303-777-1277                            Jackson County       (970) 723-4751
                                                                                                                              additional    information     regarding    property
                                                 Jefferson County     (303) 271-8600   Weld County           (970) 400-3650   taxation procedures      in Colorado, please visit
1 5 - D P T - A R P U B B 5 (01/20)                                                                                           .coloradcoov/dola/Drooertv-taxation..
                                                 Kiowa County         (719) 438-5521   Yuma County           (970) 332-5032
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CLASSIFICATION

For property tax purposes, land must meet                •   Real property improvements, such as          All other agricultural property that does not meet    The assessed value of the residence and
one of ttie following five requirements to                   structures, buildings, fixtures, and         the foregoing requirements will be classified         associated residential land is calculated by
qualify for agricultural classification:                     fences, are valued separately from the       according to its actual use on January 1 and          multiplying the actual value of the residence by
                                                             land.                                        valued using appropriate consideration of the         the current residential assessment rate
1.   A parcel of land that was used the             2.   A parcel of land that has at least 40 acres of   three approaches to value (cost, market, and
     previous two years and is presently used            forestland and that is subject to a forest       income).                                              Agricultural Structures
     as a farm or a ranch, or is being restored          management pian. The land must produce
     through conservation practices. Such land           tangible wood products that originate from       VALUATION AND TAXATION                                Agricultural structures used as an ancillary part
     must have been classified or eligible for           the productivity of the land for the primary                                                           of the operation are valued using appropriate
     classification as agricultural land during          purpose of obtaining a monetary profit.                                                                consideration of the three approaches to value
                                                                                                          Agricultural Land
     the 10 years preceding the year of                  Land underlying any residence or other                                                                 (cost, market, and income). While all three
     assessment. Agricultural land includes              improvements used as an ancillary part of                                                              approaches to value must be considered,
                                                                                                          The actual value of agricultural land, exclusive
     land underlying a residential improvement,          the operation is classified as agricultural                                                            agricultural structures are typically valued using
                                                                                                          of improvements, is based on the earning or
     if the occupant participates in the                 land.                                                                                                  the cost approach.
                                                                                                          productive capacity of the land, capitalized at
     agricultural operation or is a statutorily                                                           the statutory rate of 13%.
     specified relative of a participant in the     3.   A parcel of land that a) consists of at least                                                          In the cost approach, the actual value of the
     agricultural operation. It also includes            80 acres, or less than 80 acres if the parcel                                                          building is based on the replacement cost new
                                                         does not contain any residential                 The landlord's gross income is calculated by
     land under other improvements if such                                                                                                                      minus accrued depreciation. The actual value is
                                                         improvements, b) is subject to a perpetual       multiplying the 10-year average price of the
     improvements are an integral part of the                                                                                                                   multiplied by the statutory 2 9 % assessment
                                                         conservation easement, c) was classified as      commodity or grazing rental rate by the yield
     farm or ranch and are typically used as an                                                                                                                 rate.
                                                         agricultural at the time the easement was        associated with the subject property's soil
     ancillary part of the operation.                                                                     classification, and then multiplying that figure by
                                                         granted, d) the easement was granted to a                                                              .Personal Propertv
                                                         qualified organization, e) the easement is       the typical landlord's crop share. The 10-year
     •   A farm is defined as a parcel of land                                                            average of typical landlord expenses are
         used to produce agricultural products           exclusiveiy for conservation purposes, and                                                             Agricultural equipment used on a farm or ranch
                                                         f) all current and future uses of the land are   subtracted from the landlord's gross income to
         that originate from the land's                                                                   arrive at the landlord's net income. The net          for planting, growing and harvesting agriculturai
         productivity for the purpose of                 described in the easement. This provision                                                              products or for raising or breeding livestock for
                                                         does not include any portion of land that is     income is then capitalized by the statutory 13%
         obtaining a monetary profit.                                                                     rate to arrive at an indication of actual value.      the primary purpose of obtaining a monetary
                                                         used for nonagriculturai, commercial, or                                                               profit is exempt from property taxation. Other
     •   A ranch is defined as a parcel of land          nonagricultural residential purposes."                                                                 personal property such as livestock, livestock
         used for grazing livestock for the                                                               The assessed value of the land is calculated by
                                                    4.   A parcel of land used as a farm or ranch if                                                            products, agricultural products, and supplies are
         primary purpose of obtaining a                                                                   multiplying the actual value of the land by the
                                                         the owner has a decreed water right or a                                                               also exempt from property taxation.
         monetary profit. The term "livestock"                                                            assessment rate (currently 29%).
                                                         final permit to appropriated ground water for
         refers to domestic animals used for
         food for human or animal
                                                         purposes other than residential use, and         Agricultural Residential Improvements                 COLLECTION OF INFORMATION
                                                         water appropriated under such right or
         consumption, breeding, draft, or profit.        permit is used for the production of             Residential property is valued using only the         To ensure that land is accurately classified and
                                                         agricultural or livestock products on the        market approach to value. In this approach, the
     •   A parcel of land is considered to be in                                                                                                                valued, the assessor may request an on-site
                                                         land. This provision does not include the        actual value of the subject residence is based
         the process of being restored through                                                                                                                  inspection and/or additional information such as
                                                         two-year use requirement detailed in item 1 .    on an analysis of comparable sales minus the
         conservation practices if the land has                                                                                                                 the I R S 1040-F form filed in the previous year,
         been placed in a conservation reserve      5.   A parcel of land that was reclassified from      value attributed to the land.                         grazing lease(s), or an agricultural land
         program established by the Natural              agriculturai to another classification and met                                                         classification questionnaire. Any documentation
         Resource Conservation Service                   one of the foregoing requirements during         "Residential land" also includes two acres or         provided to the assessor by the property owner
         pursuant to 7 U.S.G. sees. 1 to 5506,           the three years before the year of               less of land on which a residential improvement       is subject to confidentiality requirements as
         or a conservation plan approved by an           assessment. The land need not have been          is located and where the improvement is not           provided by law.
         appropriate conservation district               classified or eligible for classification as     integral to an agricultural operation conducted
         implemented for the land for up to a            agricultural during the 10 years preceding       on the land.,
         period of 10 crop years.                        the year of assessment.
